Case 2:21-cv-04028-ODW-AS Document 17 Filed 08/11/21 Page 1 of 3 Page ID #:52




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  5 Attorneys for Plaintiff
      Jose Magana
  6

  7                        UNITED STATES DISTRICT COURT
  8       CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION
  9
 10 JOSE MAGANA                                 Case No.: 2:21-cv-04028-ODW-AS
 11               Plaintiff,
 12                                             STIPULATED REQUEST FOR
            vs.                                 DISMISSAL WITH PREJUDICE OF
 13                                             DEFENDANT CAPITAL ONE
                                                BANK (USA), N.A.
      CAPITAL ONE BANK (USA), N.A.
 14            Defendant.
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                                STIPULATED REQUEST FOR DISMISSAL
Case 2:21-cv-04028-ODW-AS Document 17 Filed 08/11/21 Page 2 of 3 Page ID #:53




  1        TO THE COURT, CLERK OF COURT, AND ALL PARTIES:
  2        IT IS HEREBY STIPULATED by and between Plaintiff Jose Magana and
  3 Defendant Capital One Bank (USA), N.A., (“Capital One”) that Capital One be

  4 dismissed from this action with prejudice pursuant to Federal Rules of Civil

  5 Procedure, Rule 41(a)(1)(A)(ii), and that each party shall bear its own attorneys’

  6 fees and costs.

  7

  8 DATED: August 11, 2021               Gale, Angelo, Johnson, & Pruett, P.C.
  9
                                         By:        /s/ Joe Angelo
 10                                      Joe Angelo
 11                                      Attorneys for Plaintiff
                                         Jose Magana
 12

 13
      DATED: August 11, 2021             Ballard Spahr
 14

 15
                                         By:        /s/ Susan Nikdel
 16                                      Susan Nikdel
 17                                      Attorneys for Defendant
                                         Capital One Bank (USA), N.A.
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                               STIPULATED REQUEST FOR DISMISSAL
Case 2:21-cv-04028-ODW-AS Document 17 Filed 08/11/21 Page 3 of 3 Page ID #:54




  1                           SIGNATURE CERTIFICATION
  2        Pursuant to L.R. 5-4.3.4 of the United States District Court for the Central
  3 District of California, I hereby certify that the content of this document is acceptable

  4 to counsel for Defendant, and that I have obtained authorization to affix counsel’s

  5 electronic signature to this document.

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                                          By: /s/ Joe Angelo
  8                                           Joe Angelo
                                              Counsel for Plaintiff
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                                STIPULATED REQUEST FOR DISMISSAL
